         Case 1:24-bk-10228-VK      Doc 42 Filed 02/29/24 Entered 02/29/24 19:05:33          Desc
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         MICHAEL JAY BERGER (State Bar # 100291)
     1   LAW OFFICES OF MICHAEL JAY BERGER
         9454 Wilshire Boulevard, 6th Floor
     2   Beverly Hills, California 90212
         T: (310) 271.6223
         F: (3 10) 271.9805
         E: Michael. B ergerbankruptcypower. corn

         Proposed Counsel for Debtor-in-Possession
         Mr. Tortilla, Inc.
 6
 7                             UNITED STATES BANKRUPTCY COURT
 8         CENTRAL DISTRICT OF CALIFORNIA               -   SAN FERNANDO VALLEY DIVISION
 9
10       Inre:                                       ) CASENO.: 1:24-BK-10228-VK
                                                    )
11                                                  ) Chapter 11
         Mr. Tortilla, Inc.                         )
12                                                  ) DECLARATION OF YATHIDA
                              Debtor-in-Possession. ) NIPHA REGARDING
13                                                  ) INADVERTENTLY FILING THE
14
                                                    ) WRONG NOTICE OF HEARING AND
                                                    ) SERVICE BY EMAIL OF THE
15
                                                    ) AMENDED NOTICE OF CONTINUED
                                                    ) HEARING ON DEBTOR’S MOTION
16                                                  ) FOR ORDER AUTHORIZING
                                                    ) INTERIM USE OF CASH
17                                                  ) COLLATERAL PURSUANT TO 11
                                                    ) U.S.C.363
18                                                  )
                                                    ) Date    March 7, 2024
19                                                  ) Time: 1:30p.m.
                                                    ) Ctrrn: 301 [via ZoomGov]
20                                                  ) Place: 21041 Burbank Blvd., 3’’ Floor
                                                    )         Woodland Hills, CA 91367
21                                                  )
                                                    )
22                                                  )
23
24                                                  3
25                                                  3
26
                                                    3

         DECLARATION OF YATHIDA NIPHA REGARDING INADVERTENTLY FILING THE WRONG NOTICE OF 1-IEARING
         AND SERVICE 13Y EMAIL OF THE AMENDED NOTICE OF CONTINUED 1-IEARING ON DEBTORS MOTION FOR
                ORDER AUTHORIZING INTERIM USE OF CASI-I COLLATERAL PURSUANT TO I I U.S.C. 363
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                                DECLARATION OF YATHIDA NIPHA
     1
 2       1, Yathida Nipha, declare as follows:

                 1.   I am currently employed by Law Offices of Michael Jay Berger as a
 4
         paralegal. I am over the age of 18 and not a party to the within action. My business

 6       address is 9454 Wilshire Blvd.. 6th Floor, Beverly 1-lills, California 90212. 1 have

         personal knowledge of the facts set forth herein and if called as a witness, I could and
 8
         would competently testify to those facts in a court of law.

10              2. On February 23, 2024, I inadvertently filed the incorrect Notice of Hearing on

         the Debtor’s Motion Pursuant to Section 363(C) of the Bankruptcy Code and Rule
12
         400 1(B) of the Federal Rules of Bankruptcy Procedure for Order Authorizing Use of
13
14       Cash Collateral Q’Cash Collateral Motion”). Instead of filing the Notice of Continued

15       Hearing with the March 7, 2024 hearing date, I attached the previously filed Notice of
16
         Hearing. Although I attached the incorrect Notice of Hearing when I served it via email
17
18       on February 23, 2024, the body of my February 23, 2024 email referenced the correct

19       continued March 7, 2024 hearing date and time with the March 7, 2024 ZoornGov
20
         information and March 5, 2024 opposition deadline. A true and correct copy of the
21
22       February 23, 2024 email is attached hereto as Exhibit 1.

23              3. On February 29, 2024, I refiled the Notice of Continued Hearing on the Cash
24
         Collateral Motion with the March 7. 2024 hearing date [docket no.: 41] and at 3:39 p.m..
25
          emailed the Notice to the following parties:
26
27       U.S. Trustee:
         Katherine Bunker
28

                                                       2
         DECLARATION OF YATHIDA NIPHA REGARDING INAI)VERTENTLY FILING THE WRONG NOTICE OF I TEARING
          ANt) SERVICE BY EMAIL OF THE AMENDEI) NOTICE OF CONTINUEI) HEARING ON DEBTOR’S MOTION FOR
                  ORDER AUTHORIZING INTERTM USE OF CASH COLLATERAL PURSUANT TO II U.S.C. 363
          Case 1:24-bk-10228-VK             Doc 42 Filed 02/29/24 Entered 02/29/24 19:05:33   Desc
                                             Main Document    Page 3 of 13


          kate.hunker’dusdoj .gov
     1
          SECURED CREDITORS:
 2
 3        8FIG Advance
          Attn: Legal Dept.
 4        Iecal’8fig.com

 5       Amazon Capital Services:
         Attn: Lauren Dorsett & Michael Gearin
 ‘.‘)
         Ian rcndorseItacl\%t.co111
 7
 8       Blue Bridge Financial
         Afln: Legal Dept.
 9       1 cga ldbIuchridgcfinancial corn

10       Bluevine
         Attn: Officer
          UppOrt((L I)


         Cedar Advance
13       Attn: Simon Cedar
         Si iuonçaeeclaradvance.com
14
         Corporati on Service Company
15       SPRFilingccscglohaLcom; UCCSPREPàcscglobaLcom
16       CT Corporation
         icctiIinrcttirn’dwoItcrskluwer.com
17
18       Fasanara Securitisation S.A. Acting
         nfo:a)norihdata .com
19
         Financial Pacific Leasing
20       Attn: Allison Sweet
         ASxveet(l Fin Pac .com

         First Corporate Resolution
22
         SPRS@FICOSO.COM
23
         Huntington Valley Bank
24       Attn: Erin
         er i i bra a vo F) an k co ii
25       Mercury Capital
          ii to (/mcad \ .com


         Metropolitan Capital Bank & Trust
27
         Ann: Jeffrey Brown
28       rrabinthompsoncoburn.corn ; jbrown:dthom psoncohurn.com

                                                          3
         DECLARATION OF YATHIDA NIPI-JA REGARDING INADVERTENTLY FILING THE WRONG NOTICE OF HEARING
         AND SERVICE BY EMAIL OF THE AMENDED NOTICE OF CONTINUED HEARING ON DEBTOR’S MOTION FOR
                ORI)ER AUTHORIZING INTERIM USE OF CASH COLLATERAL IURSUANT TO II U.S.C. § 363
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     1    Parkside Funding Group LLC
          Attn: Adriana Harris
     2
          Adriana”inomasrecoverycoin
     3
          Partners Personnel Management Services, LLC
 4        Attn: Cherly Canty
          (‘C’mi’icspcrerholdines.con
 5
 6        Robert Reiser and Company
          UeCfIIingIewn1uwOItelskIUweLcom
 7
 8       Sand Park Capital
         Attn: Simon Cedar
 9       simon’ii)ccdaradvance.coin

10
         Sellers Funding
11       Attn: Officer
                                    IeuaVsel1ersRcom
12
13       Shopify Capital
         leuaVIbluebridgefinancial.com
14
         Slope Advance
15       Attn: Ashish Jam
         Ishish(asIope.com
16
         Spartan Capital
17
         AUn: Jason Gang
18       iaso11’aiasonan.corn

19       Stor RB One Limited
         cflhiigietiirnwolterskluwer.com
20
         U.S. Business Administration
21       Attn: Elan Levey
         cJan.Icvevausdoj .ov
22
23       20 LARGEST UNSECURED CREDITORS

24       Easy Post
         AUn: Dustin Henrie
25       dheniie’aeasvpos1.com
26       Facebook
27       Attn: Anthony Miller
         \lltIloUy. iVii I Ie’i racl iusgscoin
28

                                                              4
         DECLARATION OF YATI-IIDA NIPHA REGARDING INADVERTENTLY FILING TFIE WRONG NOTICE OF I-WARING
         AND SERVICE BY EMAIL OF THE AMENDEI) NOTICE OF CONTINUEI) HEARING ON DEBTORS MOTION FOR
                ORDER AUTHORIZING INTERIM USE OF CASI-1 COLLATERAL PURSUANT TO II U.S.C. 363
          Case 1:24-bk-10228-VK            Doc 42 Filed 02/29/24 Entered 02/29/24 19:05:33   Desc
                                            Main Document    Page 5 of 13


          Fleetcor Technologies Inc.
     1    Attn: Officer
          PwfrerSrvicesii)fleetCoi-.com; j2vilIiamsvillamsandwilliams.corn
 2

 3       Greenberg Traurig
         Attn: Reid Hockaday
 4       IckadavrigtIa.eon

 5       IRS
         Attn: Officer
 6       hs.ov.\’.chsuc.helpdeskaspeedymaiLeom; robert.l.textor(irs.gov

         Lyneer Stafing
 8       Attn: Billing Dept.
         hilljilvneer.com
 9
         Parker Group Inc.
1O       Attn: Larry Nessenson, Esq.
         ncsscnsonjaffeandashcr.eom
11
         Ramp
12
         Attn: Officer
13                                         p:icqi

14       Jeeves
                                 1ciQy:iycs.coit
15
         Southern California Edison
         Anthony Tarantino
         \flt hon .Taranti no’a)scc.coni
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18       LiPS
         AUn: Mary Kay
19       \‘lar\ Kay. Pal lasdiqor.com

20       We Pack it All
21
         Rapid Fulfillment LLC
22
         Ann: Adam Brurnage
23       \F3ruflaLiLcpI lectnoore.con

24       Frisbi
         billineaiiisbi.coin
25
         Taboola
26       Attn: Fred Sampliner
         [‘sam pliner:Isamplincr.com urn inassian2hatkofl1awcom
27
28       MNTN

                                                          5
         DECLARATION OF YATHIDA NIPHA REGARDING INADVEPJENTLY FILING THE WRONG NOTICE OF I-IEARING
          AND SERVICE BY EMAIL OF THE AMENDED NOTICE OF CONTINUED HEARING ON DEBTORS MOTION FOR
                 ORDER AUTHORIZING INTERIM USE OF CASI-I COLLATERAL PURSUANT TO II U.S.C. § 363
     Case 1:24-bk-10228-VK            Doc 42 Filed 02/29/24 Entered 02/29/24 19:05:33       Desc
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     U line
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 5   Bakers Authority
     vona.hakcrsauthority.corn

     Attentive Mobile
     GMCCREADIE’a)nixonreabodv.com
 8
     SoCal Gas
 9   cns1onicrserviCcasoCaIgasCorn


10   Republic Services
     Ct:”afçpUhI ICSCIVICCS.C0111
11
12
             A true and correct copy of my February 29, 2024 email with the Amended Notice
13
     of Continued Hearing is attached hereto as Exhibit 2.
14
15            I declare under penalty of perjury that the foregoing is true and correct. Executed

16   this 29th day of February 2024, at Beverly Hills, California.
17



                                                 By./
20                                               ipha


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28

                                                    6
     DECLARATION OF YATFIIDA NIPHA REGARDING INADVERTENTLY FILING THE WRONG NOTICE OF I-I EARING
     AND SERVICE BY EMAIL OF THE AMENDED NOTICE OF CONTINUED I-IEARING ON DEBTORS MOTION FOR
            ORDER AUTHORIZING INTERIM USE OF CASH COLLATERAL PURSUANT TO II U.S.C. 363
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                            EXHIBIT 1
         Case 1:24-bk-10228-VK       Doc 42 Filed 02/29/24 Entered 02/29/24 19:05:33                   Desc
                                      Main Document    Page 8 of 13

 Sofya Davtyan

 From:                           Yathida Nipha
 Sent:                            Friday, February 23, 2024 4:27 PM
 To:                             kate.bunker@usdoj.gov; legal@Bfig.com; laurendorsett@dwt.com;
                                 mike.gearin@klgates.com; legal@8fig.com; Support@bluevine.com;
                                 simon@cedaradvance.com; SPRFiflng@cscglobal.com; UCCSPREP@cscglobal.com;
                                 uccfilingreturn@wolterskluwer.com; info@northdata.com; ASweet@FinPac.com;
                                 erin@braavobank.com; info@mcadv.com; rrabin@thompsoncoburn.com;
                                jbrown@thompsoncoburn.com; Adriana@nomasrecovery.com;
                                 CCanty@espererholdings.com; simon@cedaradvance.com; osaro@sellersfi.com;
                                 legal@sellersFi.com; ashish@slope.com; jason@jasongang.com; elanievey@usdojgov;
                                 dhenrie@easypost.com; Anthony.Miller@radiusgs.com; PartnerServices@FleetCorcom;
                                jowilliams@willamsandwilliams.com; hockadayr@gtlaw.com;
                                 lrs.gov.website.helpdesk@speedymail.com; roberti.textor@irs.gov; billing@lyneer.com;
                                lnessenson@jaffeandasher.com; communications@ramp.com; support@ramp.com;
                                alexg@tryjeeves.com; lucio@tryjeeves.com; Anthony Tarantino;
                                MaryKay.Pallas@iqor.com; jesse.fonseca@wepackitall.com;
                                ABrumage@collectmoore.com; billing@frisbi.com; fsampliner@sampliner.com;
                                nminassian@hatkofflaw.com; legal@mountain.com; billing@perpetua.io;
                                accounts.receivable@uline.com; yoni@bakersauthority.com;
                                gmccreadie@nixonpeabody.com; customerservice@socalgas.com;
                                ccet@republicservices.com
Cc:                             Sofya Davtyan; Michael Berger
Subject:                        Mr. Tortillas Notice of Continued Cash Collateral Hearing 3/7/2024 @
Attachments:                    Notice of Hearing.pdf




         PLEASE TAKE NOTICE that the continued hearing on Debtor’s Motion for an Order Authorizing

Interim Use of Cash Collateral Pursuant to 11 U.S.C. § 363 will take place on March 7, 2024 at 1:30 p.m. in

courtroom 301 of the above-referenced Courthouse located at 21041 Burbank Blvd., 3 Fl., Woodland Hills,

California 91367.

         PLEASE TAKE FURTHER NOTICE that the deadline to file a written opposition to the Cash

Collateral Motion is March 5. 2024. (See the attached Notice of Hearing)

         The hearing will be held remotely via ZoornGov

Join CACB ZoomGov Meeting Video/audio web address: https://cacb.zoorngov.com/j/1608055403
Meeting ID: 160 805 5403
Password: 464345

Join by Telephone
Telephone conference lines: 1-669-254-5252 OR 1-646-828-7666
Meeting ID: 160 805 5403
Password: 464345
        Case 1:24-bk-10228-VK               Doc 42 Filed 02/29/24 Entered 02/29/24 19:05:33                           Desc
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Thank yo ii,

Yathida Nipha-Roshan
Paralegal to Attorney Sofya Davtyan
Law Offices of Michael Jay Berger
9454 Wilshire Boulevard, 6th Floor
Beverly Hills, CA 90212-2929
Tel. (310) 271-6223
Fax (310) 271-9805
Website www. bankruptcvpower. corn

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communication or by telephone at (310,) 271-6223.




                                                                  2
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                            EXHIBIT 2
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Yathida Nipha

Subject:                        FW: Mr. Tortillas Notice of Continued Cash Collateral Hearing 3/7/2024   -   Amended
                                Notice of Hearing
Attachments:                    Amended Notice of Hearing.pdf



 From: Yathida Nipha
 Sent: Thursday, February 29, 2024 3:39 PM
To: ‘kate.bunker@usdoj.gov’ <kate.bunker@usdoj.gov>; ‘Iegal@8fig.com’ <Iegal@8fig.com>; ‘laurendorsett@dwt.com’
<laurendorsett@dwt.com>; ‘mike.gearin@klgates.com <mike.gearin@klgates.com>; ‘legal@8fig.com’
<Iegal@8fig.com>; ‘Support@bluevine.com’ <Support@bluevine.com>; simon@cedaradvance.com’
<simon@cedaradvance.com>; ‘SPRFiling@cscglobal.com <SPRFiling@cscglobal.com>; ‘UCCSPREP@cscglobal.com
<UCCSPREP@cscglobal.com>; uccfilingreturn@wolterskluwer.com’ <uccfilingreturn@wolterskluwer.com>;
‘info@northdata.com’ <info@northdata.com>; ‘ASweet@FinPac.com’ <ASweet@FinPaccom>; ‘erin@braavobank.com’
<erin@braavobank.com>; ‘info@mcadv.com’ <info@mcadv.com>; ‘rrabin@thompsoncoburn.com’
<rrabin@thompsoncoburn.com>; ‘jbrown@thompsoncoburn.com’ <jbrown@thompsoncoburn.com>;
‘Adriafla@flomasrecovery.com’ <Adriana@nomasrecovery.com>; CCanty@espererholdings.com’
<CCantyespererholdings.com>; ‘simon@cedaradvance.com’ <simon@cedaradvance.com>; ‘osaro@sellersfi.com’
<osaro@sellersfi.com>; ‘legal@sellersFi.com’ <legal@sellersFi.com>; ‘ashish@slope.com’ <ashish@slope.com>;
‘jason@jasongang.com’ <jason@jasongang.com>; ‘elan.levey@usdoj.gov’ <elan.levey@usdoj.gov>;
 dhenrie@easypost.com’ <dhenrie@easypost.com>; ‘Anthony.Miller@radiusgs.com’ <Anthony.Miller@radiusgs.com>,
‘PartnerServices@FleetCor.com’ <PartnerServices@FleetCor.com>; ‘jowilliams@wiIlamsandwilliams.com’
<jowilliams@willamsandwilliams.com>; hockadayr@gtlaw.com <hockadayr@gtlaw.com>;
‘lrs.gov.website.helpdesk@speedymail.com’ <lrs.gov.website.helpdesk@speedymail.com>; ‘robert.l.textor@irs.gov
<robert.l.textor@irs.gov>; billing@lyneer.com’ <billing@lyneer.com>; ‘lnessenson@jaffeandasher.com’
<lnessenson@jaffeandasher.com>; ‘communications@ramp.com <communications@ramp.com>; ‘support@ramp.com
<support@ramp.com>; ‘alexg@tryjeeves.com’ <alexg@tryjeeves.com>; ‘lucio@tryjeeves.com’ <Pucio@tryjeeves.com>;
‘Anthony Tarantino <Anthony.Tarantino@sce.com>; ‘MaryKay.Pallas@iqor.com’ <MaryKay.Pallas@iqor.com>;
‘jesse.fonseca@wepackitall.com’ <jesse.fonseca@wepackitall.com>; ‘ABrumagecollectmoore.com’
<ABrumage@coliectmoore.com>; ‘billing@frisbi.com’ <billing@frisbi.com>; ‘fsampliner@sampliner.com
<fsampliner@sampliner.com>; ‘nminassian@hatkofflaw.com’ <nminassian@hatkofflaw.com>; ‘legal@mountain.com
<legal@mountain.com>; ‘billing@perpetua.io’ <billing@perpetua.io>; ‘accounts.receivable@uline.com’
<accounts.receivable@uline.com>, ‘yoni@bakersauthority.com’ <yoni@bakersauthority.com>;
‘gmccreadie@nixonpeabody.com’ <gmccreadie@nixonpeabody.com>; ‘customerservice@socalgas.com’
<customerservice@socalgas.com>; ‘ccet@republicservices.com’ <ccet@republicservices.com>
Cc: Sofya Davtyan <Sofya.Davtyan@bankruptcypower.com>; Michael Berger <Michael.Berger@bankruptcypower.com>
Subject: RE: Mr. Tortilla’s Notice of Continued Cash Collateral Hearing 3/7/2024 Amended Notice of Hearing
                                                                             -




       PLEASE TAKE NOTICE that the continued hearing on Debtor’s Motion for an Order Authorizing

Interim Use of Cash Collateral Pursuant to 11 U.S.C. § 363 will take place on March 7, 2024 at 1:30 p.m. in

Courtroom 301 of the above-referenced Courthouse located at 21041 Burbank Blvd., 3 Fl,, Woodland Hills,

California 91367. Please find the attached Amended Notice of Hearing on the Cash Collateral Motion.




                                                        1
         Case 1:24-bk-10228-VK
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                             Main Document     Page 12 of 13
          PLEASE TAKE FURTHER NOTICE that the deadline to file a written opposition to the Cash

 Collateral Motion is March 5, 2024.

         The hearing will be held remotely via ZoomGov

 Join CACB ZoornGov Meeting Video/audio web address: htjps://cach.zoomgov.com/i/1608055403
 Meeting ID: 160 805 5403
 Password: 464345

Join by Telephone
Telephone conference lines: 1-669-254-5252 OR 1-646-828-7666
Meeting ID: 160 805 5403
Password: 464345

 Thank you,

Yathida Nipha-Roshan
Paralegal to Attorney Sofya Davtyan
Law Offices of Michael Jay Berger
9454 Wilshire Boulevard, 6th Floor
Beverly Hills, CA 90212-292 9
Tel. (310) 271-6223
Fax (310) 271-9805
Website www.bankruptcvpower.com

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communication or by telephone at (310) 271-6223.



From: Yathida Nipha
Sent: Friday, February 23, 2024 4:27 PM
To: ‘kate.bunker@usdoj.gov’ <kate.bunker@usdoj.gov>; ‘Iegal@8fig.com’ <Iegal@8fig.com>; ‘Iaurendorsett@dwt.com’
<Iaurendorsett@dwt.com>; mike.gearin@klgates.com’ <mike.gearinkIgates.com>; ‘Iegal@8fig.com’
<legaI8fig.com>; ‘Support@bluevine.com’ <Support@biuevine.com>; ‘simon@cedaradvance.com
<simon@cedaradvance.com>; ‘SPRFiling@cscglobal.com’ <SPRFiling@cscgtobal.com>; ‘UCCSPREP@cscglobal.com’
<UCCSPREPcscgIobaI.com>; ‘uccfilingreturn@wolterskluwer.com’ <uccfilingreturn@wolterskluwer.com>;
‘info@northdata.com’ <info@northdata.com>; ‘ASweet@FinPac.com’ <ASweet@FinPac.com>; ‘erin@braavobank.com’
<erin@braavobank.com>; ‘info@mcadv.com’ <info@mcadv.com>; ‘rrabin@thompsoncoburn.com’
<rrabin@thompsoncoburn.com>; ‘jbrown@thompsoncoburn.com’ <jbrown@thompsoncoburn,corn>;
 Adriana@nomasrecovery.com’ <Adriana@nomasrecovery.com>; ‘CCanty@espererholdings.com’
<CCanty@Jespererholdings.com>; ‘simon@cedaradvance.com’ <simon@cedaradvance.com>; ‘osaro@sellersfi corn’
<osaro@seflersfi.com>; ‘Iegal@sellersFi.com’ <legaIseIiersFi.com>; ‘ashish@slope.com’ <ashish@sbpe.com>;
‘jason@jasongang.com’ <iason@jasongang.com>; ‘elan.levey@usdoj.gov’ <eIan.Ieveyusdoj.gov>;
‘dhenrie@easypost.com’ <dhenrie@easypost.com>; ‘Anthony.Miller@radiusgs.com’ <Anthony.MiHerradiusgscom>;
‘PartnerServices@FleetCor.com’ <PartnerServices@FleetCor.com>; ‘jowiIIiams@wiIIamsandwiIIiams.com’
<iowiIliams@wiIIamsandwiIIiams.com>; ‘hockadayr@gtlaw.com’ <hockadayrgtIaw.com>;
‘Irs.gov.website.helpdesk@speedymail.com’ <Irs.gov.website.helpdeskspeedymaiLcom>; ‘robert.I.textor@irs.gov’
<robert.I,textorirs.gov>; ‘billing@lyneer.com’ <biIIingIyneer.com>; ‘Inessenson@jaffeandasher.com’
                                                                   2
            __________________,

           Case 1:24-bk-10228-VK                   Doc 42 Filed 02/29/24 Entered 02/29/24 19:05:33                                     Desc
                                                   Main Document    Page 13 of 13


                                           PROOF OF SERVICE OF DOCUMENT

  am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 9454 Wilshire Blvd., 6th Fl., Beverly Hills, CA 90212


 A true and correct copy of the foregoing document entitled (spec(fi’): DECLARATION OF YATHIDA NIPHA
 REGARDING INADVERTENTLY FILING THE WRONG NOTICE OF HEARING ANI) SERVICE
 BY EMAIL OF THE AMENDED NOTICE OF CONTINUED HEARING ON DEBTOR’S MOTION
 FOR ORDER AUTHORIZING INTERIM USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C.
 § 363wi1l be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
 manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 2/29/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

 Debtor’s Proposed Counsel: Michael Jay Berger michael. bergerbankruptcypower.com,
  ath id i n Pl1iJ1 b inki Iiptc 12°J L.Onl ni ichac I bcige:jec. I Ni CI 1iptc Corn
 U.S. Trustee: Katherine Bunker         katc.bunkcrusdoj.i.ov
 United States Trustee (SV)        ustpregion I 6.wh .ecfusdoj gUy


                                                                                       LI Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                       I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                       LI Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/29/2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Victoria Kaufman
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard. Suife 354 / Courtroom 30]
Woodland Hills, CA 91367 United States Bankruptcy Court

                                                                                      LI Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/29/2024                      Peter Garza                                                    Is/Peter Garza
 Date                          Printed Name                                                     Signature


           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the central District of California.

June2012                                                                                           F 901 33.1.PROOF.SERVICE
